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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE: PRESS AND PUBLIC                        )
ACCESS TO VIDEO EXHIBITS                       )       Case No. 1:21-mc-00046-BAH
IN THE CAPITOL RIOT CASES                      )

                                 GOVERNMENT’S RESPONSE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby responds to the Court’s May 3, 2021 Order, directing the

government to respond to petitioners’ request to access video exhibits in the Capitol Riot Cases.

       Petitioners represent 14 news organizations and propose that the Court enter into a

Standing Order directing the government to release video exhibits in a timely manner so that they

will be available to the public. See May 3, 2021 Letter from Charles D. Tobin and Maxwell S.

Mishkin (hereinafter “Petitioners’ Letter”) at 1-2.

       The D.C. Circuit has consistently employed the six-factor “Hubbard test” 1 when

determining whether the common-law right of access to judicial records requires those records to

be made available to the public for copying and inspection. Applied in the general context of video

exhibits admitted into evidence in court hearings involving defendants charged with criminal

offenses related to the January 6, 2021 breach of the U.S. Capitol, and absent order of the court,

that test generally weighs in favor of allowing public access to these exhibits.




1
 The Hubbard test balances the following factors: “(1) the need for public access to the documents
at issue; (2) the extent of previous public access to the documents; (3) the fact that someone has
objected to disclosure, and the identity of that person; (4) the strength of any property and privacy
interests asserted; (5) the possibility of prejudice to those opposing disclosure; and (6) the purposes
for which the documents were introduced during the judicial proceedings.” Leopold v. v. United
States, 964 F.3d 1121, 1131 (D.C. Cir. 2020) (quoting MetLife, Inc. v. Fin. Stability Oversight
Council, 865 F.3d 661, 665 (D.C. Cir. 2017)).
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       Consequently, the government does not oppose a Standing Order in these Capitol Riot

cases directing the parties, going forward, 2 to make available to the public video exhibits admitted

into evidence in all court proceedings that are not subject to a sealing order. To that end, the

government has been exploring a technological option that would allow interested members of the

news media to join a “drop box” through a platform that would be populated with the government’s

exhibits from each hearing and would be available for download by any member who requested

access to the “drop box.” Upon Court order, the government will be in a position to make this

option operational next week. The government needs at least 72 hours from the time of a

proceeding to the posting of the exhibits in light of the possible need for redactions (e.g., personal

identifiable information) and uploading of voluminous numbers of exhibits.


                                               Respectfully submitted,

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2
 Presently, the government has endeavored to address requests for access to these video exhibits
on a case-by-case basis. In terms of video exhibits used in past hearings, the government will seek
to add to the “drop box” exhibits upon request, including the matters referenced on pages 3-5 of
Petitioners’ Letter.
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